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 8                                UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                     SAN FRANCISCO DIVISION
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12   RICHARD KADREY, et al.,
13          Individual and Representative               Case No. 3:23-cv-03417-VC
            Plaintiffs,
14                                                      STIPULATION AND [PROPOSED]
     v.                                                 ORDER EXTENDING DEADLINE FOR
15                                                      THIRD-PARTY SEALING OF SUMMARY
     META PLATFORMS, INC., a Delaware                   JUDGMENT BRIEFS
16   corporation,
17          Defendant.
18
19           Pursuant to Civ. L.R. 6-2 and 7-12, Plaintiffs Richard Kadrey, Sarah Silverman, Christopher
20   Golden, Jacqueline Woodson, Andrew Sean Greer, Rachel Louise Snyder, David Henry Hwang,
21   Ta-Nehisi Coates, Laura Lippman, Matthew Klam, Junot Díaz, Lysa Terkeurst and Christopher
22   Farnsworth (“Plaintiffs”); and Defendant Meta Platforms, Inc. (“Meta”) (collectively, the
23   “Parties”), by and through their respective counsel, stipulate to the following:
24        1. On March 12, 2025, the Court entered an order directing the parties to refile each summary
25           judgment brief and any motions to seal excerpts of the brief within 5 days of the initial filing
26           deadline. Dkt. 477. That order also set an April 25, 2025 deadline for publicly refiling
27           summary judgment exhibits and motions to seal summary judgment exhibits (i.e., the Friday
28           before the summary judgment hearing). Id.
                                                                 STIPULATION AND [PROPOSED] ORDER EXTENDING
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 1         2. On April 7, 2025, Plaintiffs filed a combined summary judgment opposition and reply brief.

 2            Dkt. 517. Plaintiffs’ brief references information over which two third parties 1 have asserted

 3            confidentiality. Those passages are located at:

 4                       Page 28, footnote 15;

 5                       Page 30, lines 9-10; and

 6                       Page 30, footnote 17.

 7         3. Plaintiffs also filed three exhibits originally produced by these third parties, and over which

 8            the third parties have asserted confidentiality:

 9                       Plaintiffs’ Exhibit 134;

10                       Plaintiffs’ Exhibit 135; and

11                       Plaintiffs’ Exhibit 139.

12         4. Plaintiffs are coordinating with the third parties regarding the sealing declaration process

13            for these materials, as outlined in Civ. L-R 79-5(f). Those discussions are ongoing,

14            continuing into this week.

15         5. To afford sufficient time for the third parties to prepare their sealing declarations, and to

16            reduce the burden on third parties that would result from filing two separate sealing

17            declarations for Plaintiffs’ brief and Plaintiffs’ exhibits, the parties stipulate as follows:

18            NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and through

19   Plaintiffs and Meta, as represented by their undersigned counsel and subject to the approval of the

20   Court, that the third parties shall be afforded until April 25, 2025 to file a declaration in support of

21   sealing the implicated passages of Plaintiffs’ April 7 brief alongside their declaration in support of

22   sealing the summary judgment exhibits. The implicated passages of Plaintiffs’ April 7 brief have

23   been refiled in redacted form pending submission of the third-party sealing declarations.

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28    Plaintiffs do not reference the third parties by name due to confidentiality considerations and the
     Court’s prior sealing guidance. See Dkt. 498.
                                                                   STIPULATION AND [PROPOSED] ORDER EXTENDING
                                                         -2-                     THIRD-PARTY SEALING DEADLINE
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 1   Dated: April 14, 2025
                                                 Respectfully Submitted,
 2
     By /s/ Matthew Brigham                      By /s/ Jay Schuffenhauer
 3
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23   Attorneys for Defendant
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                                                       STIPULATION AND [PROPOSED] ORDER EXTENDING
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 1                                    PROPOSED ORDER
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          Pursuant to the stipulation of the Parties, IT IS SO ORDERED.
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 6   DATED:_________________________                 ________________________________
                                                        HON. VINCE CHHABRIA
 7                                                      United States District Judge
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                                                         STIPULATION AND [PROPOSED] ORDER EXTENDING
                                               -4-                     THIRD-PARTY SEALING DEADLINE
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 1                                        ECF ATTESTATION
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            Pursuant to Local Rule 5-1(i)(3), I hereby attest that counsel for Meta concurs in the filing
 3
     of this document.
 4                                                /s/ Jay Schuffenhauer
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                                                               STIPULATION AND [PROPOSED] ORDER EXTENDING
                                                    -5-                      THIRD-PARTY SEALING DEADLINE
                                                                                    CASE NO. 3:23-CV-03417-VC
